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                        CENTERS, LLC
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                 11                            UNITED STATES DISTRICT COURT
                 12                        SOUTHERN DISTRICT OF CALIFORNIA
                 13

                 14 DS ADVANCED ENTERPRISES,                        Case No. 3:23-cv-01335-CAB-JLB
                        LTD., a corporation,
                 15                                                 DEFENDANT’S MOTION TO FILE
                                     Plaintiff,                     DOCUMENTS UNDER SEAL
                 16
                              v.                                    Date: January 9, 2025
                 17                                                 Judge: The Honorable Cathy Ann
                        LOWE’S HOME CENTERS, LLC, a                 Bencivengo
                 18 Corporation,
                                                                    PER CHAMBER RULES, NO ORAL
                 19                  Defendants.                    ARGUMENT UNLESS SEPARATELY
                                                                    ORDERED BY THE COURT
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                        1         Defendant LOWE’S HOME CENTERS, LLC (“LHC”) submits this
                        2 Memorandum of Law in Support of its Motion to File Documents Under Seal,

                        3 pursuant to the Protective Order entered at Dkt. #33, the Honorable Cathy Ann

                        4 Bencivengo’s Civil Case Procedures, Part V, and the Honorable Cathy Ann

                        5 Bencivengo’s Order from October 30, 2024.

                        6                                      ARGUMENT
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                                  On October 30, 2024, the Court granted LHC’s Motion to Seal and directed
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                            LHC to “specifically identify by motion any documents that should be sealed in
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                            Plaintiff’s filed motion for reconsideration.” Dkt. #80. Pursuant to this Order, LHC
                       10
                            herein submits that the following exhibits referenced in the Declaration of Scott D.
                       11
                            Stimpson (Dkt. # 76-2) should remain under seal, as each of these exhibits were
                       12
                            referenced in either the brief for Plaintiff’s motion for reconsideration pursuant to
                       13
                            Fed. R. Civ. P. § 59(e) and §52(b) (“Reconsideration Motion,” Dkt. #79-1) or
                       14
                            Plaintiff’s Memorandum of Points and Authorities in Opposition to LHC’s Motion
                       15
                            for Attorneys’ Fees (“Fees’ Opposition,” Dkt. #81)1 as follows:
                       16
                                  - Exhibit B referenced on page 10 of Plaintiff’s Reconsideration Motion;
                       17
                                  - Exhibit C referenced on page 10 of Plaintiff’s Reconsideration Motion and
                       18
                                     page 15 of Plaintiff’s Fees’ Opposition;
                       19
                                  - Exhibit D referenced on page 15 of Plaintiff’s Fees’ Opposition;
                       20
                                  - Exhibit E referenced on page 10 of Plaintiff’s Reconsideration Motion;
                       21
                                  - Exhibit F referenced on page 10 of Plaintiff’s Reconsideration Motion;
                       22
                                  - Exhibit H referenced on pages 9 and 10 of Plaintiff’s Reconsideration
                       23
                                     Motion;
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                            1
                       26  Although the Court’s October 30, 2024 Order did not specifically request that LHC
                          identify documents referenced in opposition to its Motion for Attorneys’ Fees,
                       27 Plaintiff had initially indicated that it may be referencing LHC’s confidential

                       28 documents as part of this opposition. (Stimpson Decl., Ex. A.)
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  ATTO RNEY S AT LAW
     SAN DIEG O
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                        1        - Exhibit J referenced on pages 9 and 10 of Plaintiff’s Reconsideration
                        2            Motion;
                        3        - Exhibit K referenced on pages 9 and 10 of Plaintiff’s Reconsideration
                        4            Motion;
                        5        - Exhibit L referenced on pages 5 and 10 of Plaintiff’s Reconsideration
                        6            Motion;
                        7        - Exhibit M referenced on pages 5 and 10 of Plaintiff’s Reconsideration
                        8            Motion;
                        9        - Exhibit N referenced on page 5 of Plaintiff’s Reconsideration Motion;
                       10        - Exhibit O referenced on page 4 of Plaintiff’s Reconsideration Motion and
                       11            page 13 of Plaintiff’s Fees’ Opposition;
                       12        - Exhibit P referenced on page 10 of Plaintiff’s Reconsideration Motion and
                       13            page 15 of Plaintiff’s Fees’ Opposition;
                       14        - Exhibit Q referenced on page 10 of Plaintiff’s Reconsideration Motion;
                       15        - Exhibit R referenced on page 4 of Plaintiff’s Reconsideration Motion and
                       16            pages 12, 16, and 17 of Plaintiff’s Fees’ Opposition;
                       17        - Exhibit S referenced on page 4 of Plaintiff’s Reconsideration Motion; and
                       18        - Exhibit T referenced on page 4 of Plaintiff’s Reconsideration Motion.
                       19        LHC is herein filing under seal on the docket the above exhibits, which are
                       20 attached to the Declaration of Katherine M. Lieb. Upon review of the Plaintiff’s

                       21 Reconsideration Motion and Fees’ Opposition, it does not appear that Plaintiff has

                       22 cited to Exhibits G and I to the Stimpson Declaration, and therefore, LHC is not

                       23 seeking to seal these exhibits at this time.2

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                            2
                       26  In the event that Plaintiff later references these documents, LHC reserves the right
                          to seek to seal these documents at a later time. Additionally, LHC is not seeking to
                       27 seal Exhibit A to the Stimpson Declaration, as it was previously filed publicly on the

                       28 docket.
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                        1                                  CONCLUSION
                        2       For the foregoing reasons, LHC respectfully requests that the Court enter an
                        3 order permanently sealing LHC’s Exs. B–F, H, and J–T to the Lieb Declaration.

                        4

                        5 Dated: December 5, 2024            Respectfully submitted,

                        6                                    HIGGS FLETCHER & MACK LLP
                        7
                                                             By:       /s/ Peter S. Doody
                        8                                          PETER S. DOODY
                        9
                                                                   SILLS CUMMIS & GROSS P.C.
                       10                                          Scott D. Stimpson (Pro Hac Vice)
                                                                   Katherine M. Lieb (Pro Hac Vice)
                       11                                          Linxuan Yan (Pro Hac Vice)
                       12                                          Attorneys for Defendant LOWE’S HOME
                       13                                          CENTERS, LLC

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                        1                            CERTIFICATE OF SERVICE
                        2        The undersigned hereby certifies that a true and correct copy of the foregoing
                        3 document has been served on December 5, 2024, to all counsel of record, who are

                        4 deemed to have consented to electronic service via the Court’s CM/ECF system. I

                        5 declare under penalty of perjury of the laws of the United States that the foregoing is

                        6 true and correct.

                        7                                                      /s/ Peter S. Doody
                                                                               Peter S. Doody
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    M ACK LLP
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